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9 _5 PM 2'- 011 THE wESTERN DISTRICT oF TENNESSEE w
05 SE WESTERN DIvlsIoN ““{L"§§,m°°‘“‘c°.,.
_MM M_ @Q`L)\_D w.D.oFTN. val*
WMB R,EQUAL
EMTYME PPORTUNITY
coMMIssIoN, AND JoHN
oswALD,
Plaintiffs,

RICHARD A. BOWER,

   

MOT|ON GRANT§D
.. , 5

     
   

Plaintiff-Interveoor, DA '
SHARON HERDRICH, LUIS BERN|CE BOU|E DONALD
MORALES, AND TIM WIESE, U.S. DlSTR|CT JUDGE

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Plaintiff-Intervenors, )

)
v. ) CIVIL ACTION NO. 94-2862
)
FEDERAL EXPRESS CORPORATION, )
)
)

Defendant.
MOTION TO APPEAR AS ATTORNEY PRO I:L'iC WCE
Defendant, FEDERAL EXPRESS CORPORATION, moves the Court under Local Rule
83.l(b)(1) to admit Alan Dabdoub as counsel pro hac vice for Defendant in the above matter. ln
suppoi't of this Motion, Defendant states as follows:
l. Alan Dabdoub is a senior attorney with Federal Express Corporation, 3620 Hacks
Cross Road, Building B, 3rd Floor, Memphis, TN 38125, (901) 434-8680, (901) 434-9278 (Fax).
2. Mr. Dabdoub is licensed to practice law in the State of Louisiana, and is an active
member in good standing of the bar of that State. In addition, Mr. Dabdoub is an active member in

T good standing of the United States District Courts for the Middle District, Eastern District and the
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Westem District of louisiana Mr. Dabdoub is admitted to the United States Fifth Circuit Court of
Appeals.

3. Mr. Dabdoub has obtained and is familiar With the local rules of this Court, including
the Guidelines of Professional Courtesy and Conduct.

4. A Certiticate of Admission to the Bar ofLouisiana, which verifies that Mr. Dabdoub
is a member in good standing of the State Bar of Louisiana, is attached as Exhjbit A.

WHEREFORE, defendant herein, FEDERAL EXPRESS CORPORATION, prays that this

Court admit Alan Dabdoub as one of its counsel of record for purposes of this action.

DATE: September l, 2005. Respectfully submitted,

FEDERAL EXPRESS CORPORATION
3620 Hacks Cross Road
Building B, 3rd Floor

 

  
 
 

I, Alan Dabdoub, have obtained an am f . ` ., , h the local rules of this Court, including
the Guidelines of Professional Courtesy and C "

 

Alan"f)ab&w

Case 2:94-cV-02862-BBD-cgc Document 476 Filed 09/02/05 Page 3 of 5 Page|D 314

CERTIFICATE OF SERVICE

 

l hereby certify that the Motion To Appear As Attoroey Pro Hac Vice has been forwarded via U.S.
Mail, first class, postage prepaid this lst day of September 2005 to the following

Teny Beck, Esq. J. Kendrick Kresse, Esq.

Deidre Smith, Esq. California Center for Law and the Deaf
Equal Employment Opportunity Comm. 14895 E. 14th Street, Suite 220

1407 Union Avenue, Suite 620 San Leandro, CA 94578-2926

Memphis, TN 38104

Connie Westbrook, Esq.
2504 Arthu.r Road
Memphis, TN 38138

chhard Fields, Esq-

The Wright Carriage House
688 Jefferson Avenue
Memphis, TN 38105

566806

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 476 in
case 2:94-CV-02862 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

EsSEE

 

Colby S. Morgan

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/lemphis7 TN 38125--880

Thomas L. Henderson

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/lemphis7 TN 38119

Richard B. Fields

LAW OFFICE OF RICHARD B. FIELDS
688 Jefferson Ave.

1\/lemphis7 TN 38105--193

Terry L. Beck

EQUAL El\/IPLOYN[ENT OPPORTUNITY COl\/[MISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Todd M. Saranecki

KAPLAN BEGY & VON OHLEN
120 North La Salle Street

Chicago, IL 60602

J. Kendrick Kresse

CALIFORNIA CENTER FOR LAW AND THE DEAF
14895 East 14th St.

Ste. 220

San Leandro, CA 94578--292

Carolyn Hovvard

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/lemphis7 TN 3 8 1 04--3 62

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Jennifer Pesek
14895 East 14th Street Suite 220
San Leandro, CA 94578--292

Callan G. Carter

CALIFORNIA CENTER FOR LAW AND THE DEAF
14895 East 14th St.

Ste. 220

San Leandro, CA 94578--292

J ames R. Mulroy

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/lemphis7 TN 38119

Connie Westbrook

LAW OFFICE OF CONNIE WESTBROOK
2504 Arthur Rd.

Germantovvn7 TN 3 8138

Honorable Bernice Donald
US DISTRICT COURT

